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                                  AC-0002
                              
                        
          
        
      
    
  

  

  
    
      AC-0002
              Angela Colmenero
                  
        Categories
                        
Bail and Bail Bond Regulation
              , 
Courts and Judges
              , 
Criminal Law
        
      
            
                  Summary
                      Who may deny bail when a defendant is charged with committing a felony while on bail for a prior offense committed in the same county.
      
                          
            Opinion File
                         ac-0002.pdf 

      
          
                
        
      
    

          
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    RQ-0484-KP

      
  
                November 09, 2022

      
  
      
      
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                     RQ0484KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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